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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


 LISA BARBOUNIS                                 : CIVIL ACTION
                                                : NO. 2:19-cv-05030-JDW
                          Plaintiff,            : NO. 2:20-cv-02946
 -vs-                                           :
                                                :
 THE MIDDLE EAST FORUM, et al.                  :
                                                :
                                                :
                          Defendants.           :


                    STIPULATION REGARDING WITHDRAWAL OF
                        SUBPOENA AND MOTION TO QUASH

        By agreement of Defendants and non-party Ryan Coyne, through their respective counsel,

concerning (a) the subpoena to testify at a deposition and to produce documents served by

Defendants upon Mr. Coyne, see Doc. No. 112-2 (the “subpoena”), and (b) the Motion to Stay

Deposition, To Quash Subpoena to Testify, and for Protective Order Filed on Behalf of Non-

Involved, Non-Party Witness, Ryan Coyne, see Doc. No. 112 (“Motion to Quash”), it is hereby

stipulated that:

    1. The subpoena issued by defendants, The Middle East Forum, Daniel Pipes, and Greg

        Roman, for the deposition of non-party, Ryan Coyne, and the accompanying demand for

        production of documents from Mr. Coyne is withdrawn by Defendants in its entirety and

        with prejudice;

    2. The Motion to Quash is withdrawn by Mr. Coyne as moot.
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                   Respectfully submitted this the 5th day of March 2021.




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Daniel Pipes and Gregg Roman




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                                CERTIFICATE OF SERVICE

       I, Jonathan R. Cavalier, hereby certify that on March 5, 2021, a true and correct copy of

the foregoing Stipulation Regarding Withdrawal of Subpoena and Motion to Quash was served

on counsel of record via the court’s ECF filing system.


                                                    /s/ Jonathan R. Cavalier
                                                    Jonathan R. Cavalier




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